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 5
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 7
 8                             UNITED STATES BANKRUPTCY COURT

 9           CENTRAL DISTRICT OF CALIFORNIA, SANTA BARBARA DIVISION

10
     In re: BRIAN MORGAN HEIT, an individual, ) Case No. 9:24-BK-10608-RC
11                                            )
                  Debtor.                     ) Chapter 7
12                                            )
13   NACE REYNOLDS, an individual,            ) COMPLAINT TO OBJECT TO
                                              ) DISCHARGE OF DEBT
14                Plaintiff,                  )
                                              ) 11 USC §§ 523(a)(2)(A), 523(a)(4), and
15           v.                               ) 523(a)(6)
16                                            )
     BRIAN MORGAN HEIT, an individual,        )
17                                            )
                  Defendant.                  )
18                                            )
19
20                                    COMPLAINT TO OBJECT TO

21             DISCHARGE OF DEBT 11 USC §§ 523(a)(2)(A), 523(a)(4), and 523(a)(6)

22   1.      This action is a core proceeding pursuant to 28 USC § 157.
                                                 PARTIES
23
     2.          NACE REYNOLDS (“REYNOLDS”) was at all relevant times domiciled in and a
24
     citizen of the State of California.
25
     3.          Defendant, BRIAN MORGAN HEIT (“HEIT”), on information and belief, is and was
26
     at all relevant times domiciled in and a citizen of the State of California. HEIT is a licensed
27
     California attorney (State Bar No. 318926), admitted to the California State Bar in 2015. HEIT
28   filed a Voluntary Petition for Chapter 7 Bankruptcy Relief on May 29, 2024 in this Action.


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 1   4.         REYNOLDS is informed, believes and thereon alleges that Adept Legal Counsel PC
 2   (fka ABG Law, PC and fka Heit Law Group, PC) (“HLG”) is a California professional

 3   corporation that is, or was duly organized, to do business in California with a principal place of
     business in Westlake Village, California, County of Ventura. HLG filed a voluntary Chapter 7
 4
     Bankruptcy on May 20, 2024, in the U.S. Bankruptcy Court, Central District of California,
 5
     Northern Division, Case Number 9:24-bk-10554-RC.
 6
     5.         At all times herein mentioned, HEIT was an agent and employee of HLG and was
 7
     acting within the scope of such agency and employment of HLG. HEIT holds the offices of
 8   Chief Executive Officer (or President), Secretary and Chief Financial Officer of HLG. At all
 9   times herein mentioned, HEIT was a shareholder of HLG.
10   6.         REYNOLDS is informed, believes and thereon alleges that HEIT is personally liable
11   for REYNOLDS’s claims as set forth herein by virtue of the Standard Law Corporation

12   Guarantee required by Rule 3.158(A)(1) of the Law Corporation Rules of the State Bar of
     California. This belief is further based on that HLG holds itself out as professional law
13
     corporation and therefore must be registered with the State Bar of California to be authorized to
14
     practice law in California pursuant to California Business and Professions Code § 6161.
15
     7.         HEIT included REYNOLDS as a creditor in his Bankruptcy Case further evidences
16
     the HEIT’s personal liability to REYNOLDS for the REYNOLDS’s debt.
17   8.         At all times herein mentioned, HEIT acted in a fiduciary capacity to REYNOLDS due
18   to his position as an attorney and REYNOLDS as his client. Due to HEIT’s position as a
19   fiduciary, HEIT’s asserted a position of trust and confidence with REYNOLDS’s property,
20   finances and affairs and was bound by legal ethics to act in the best interests of REYNOLDS.

21   Furthermore, HEIT was entrusted with REYNOLDS funds by and through HLG client trust
     account.
22
     9.         REYNOLDS currently has an ongoing civil action against HEIT and HLG in the
23
     Superior Court of California, County of San Francisco, Case No. CGC-21-594238 (cons.
24
     w/CGC-21-594246), filed August 2, 2021 (“Reynolds v. Heit SF Case”). The Reynolds v. Heit SF
25   Case alleges a complaint for damages and other relief for, among others, the following causes of
26   action: Professional Negligence (Legal Malpractice); Fraud Or Deceit in Concealment (Civ.
27   Code § 1710(3)); Accounting; Unfair Competition Law (Bus. & Prof. Code § 17200); and Unjust
28   Enrichment.


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 1   10.           On August 30, 2023, REYNOLDS, HEIT, HLG and the other co-defendants in the
 2   Reynolds v. Heit SF Case entered into a complete settlement of that case, including all claims

 3   known and unknown against one another whereby HEIT, HLG, and the other co-defendants
     agreed to pay REYNOLDS $147,500. HEIT and HLG failed and refused to honor the settlement
 4
     and REYNOLDS filed a motion to enforce the settlement under California Code of Civil
 5
     Procedure § 664.6. The San Francisco trial court granted REYNOLDS’ motion and, before
 6
     judgment was entered, HEIT (and HLG) and one other co-defendants in the Reynolds v. Heit SF
 7
     Case filed separate appeals. Those appeals were consolidated and stayed because of the
 8   underlying bankruptcies filed by HEIT and HLG.
 9                                     JURISDICTION AND VENUE
10   11.    This Court has jurisdiction over this proceeding pursuant to 28 USC §§ 151, 157 and
11   1334. This action is a core proceeding pursuant to 28 USC § 157. This adversary proceeding
12   relates to the Chapter 7 Bankruptcy case of Brian Morgan Heit, pending in the United States

13   Bankruptcy Court for the Central District of California – Northern Division, Case No. 9:24-
     10606-RC (“BK Case”).
14
     12.           Venue lies in the Central District of California, pursuant to 28 USC §§ 1408(1) and
15
     1409(a), as this is a proceeding arising under the Bankruptcy Code or arising in a case
16
     commenced by the Debtor under Chapter 7 of the Bankruptcy Code in the Central District of
17   California.
18                                      FACTUAL BACKGROUND
19   13.    In late 2019, HEIT and HLG, along with another attorney named Robin Sheehan
20   (“Sheehan”) met an individual named Joel Fink (“Fink”) who described himself as a “spam
21   specialist.” Fink, HEIT, HLG, and Sheehan developed a plan to make an “anti-spam” litigation

22   mill using plagiarized documents and clients funneled and solicited to HEIT, HLG, and Sheehan
     by Fink.
23
     14.    In early 2020, Fink asked REYNOLDS to sign a contingency agreement for investigative
24
     services whereby Fink would gain access to REYNOLDS’s email account, analyze, and preserve
25
     evidence for making “negotiated settlements or litigation.” According to Fink’s contract, he was
26
     an independent contractor who “may suggest appropriate counsel for Client to contact about
27   pursuing his/her legal options, but the decision whether to contact and engage an attorney is
28   solely within Client’s discretion.”


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 1   15.       In reality, Fink acted as HEIT and HLG’s agent. In that capacity, starting in or around
 2   early 2020, Fink provided HEIT and HLG with REYNOLDS’s evidence without his prior

 3   consent or knowledge. Thereafter, HEIT and HLG solicited REYNOLDS, without ever having a
     prior relationship.
 4
     16.       Throughout the course of their relationship, HEIT and HLG used REYNOLDS as a pawn
 5
     in their litigation mill and made numerous claims on his behalf since 2020 without his approval.
 6
     Throughout the course of their relationship, HEIT and HLG treated Fink as if he was the true
 7
     client.
 8   17.       HEIT and HLG also filed or were otherwise involved in at least 10 lawsuits on
 9   REYNOLDS’s behalf without informing him in advance of filing, or even discussing with him a
10   plaintiff’s responsibilities in a lawsuit. HEIT and HLG rarely kept REYNOLDS informed as to
11   the status of negotiations and litigation, and consistently treated REYNOLDS not as the client

12   who makes the final decisions and for whom they work, but rather as an obstacle preventing
     them from making every decision.
13
     18.       HEIT and HLG held themselves out as being competent attorneys in the area of anti-
14
     spam litigation. In reality, HEIT and HLG had no experience in anti-spam litigation and never
15
     made himself competent in the area. HEIT and HLG failed to perform any services that would
16
     prepare REYNOLDS’s cases for trial (or meaningful settlement). In all or substantially all of the
17   lawsuits in which REYNOLDS was involved, HEIT and HLG’s representation was woefully
18   incompetent, leading to incredibly small “nuisance value” settlements, even though Section
19   17529.5 authorizes a robust $1,000 per unlawful spam. All the while, HEIT and HLG did very
20   little valuable work and retained the lion’s share of the proceeds.

21   19.       HEIT and HLG knowingly withheld information about REYNOLDS’s cases that would
     have allowed him to make informed decisions about how to proceed, including, but not limited
22
     to, finding new counsel.
23
     20.       All of the purported contingency fee agreements that REYNOLDS signed with HEIT and
24
     HLG are void. Therefore, HEIT and HLG were never entitled to any contingency fees and were
25   only entitled to the “reasonable value” of their services. To date, HEIT and HLG have not
26   provided any description of services provided for any of the cases in which HEIT and HLG
27   withheld attorneys fees from REYNOLDS’s recoveries.
28


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 1   21.     Before distributing money from REYNOLDS’s recoveries to REYNOLDS, HEIT and
 2   HLG forced REYNOLDS to sign supposed “Accounting Statements” that were styled as

 3   “agreements,” which stated that REYNOLDS had “instructed” HEIT and HLG to pay Fink from
     REYNOLDS’s proceeds. The implication was that if REYNOLDS did not sign the “Accounting
 4
     Statements,” HEIT and HLG would not distribute his funds.
 5
     22.     HEIT and HLG intentionally withheld their true relationship with Fink from
 6
     REYNOLDS to REYNOLDS’s detriment.
 7
     23.     In late 2021, REYNOLDS discharged HEIT and HLG and retained new counsel to take
 8   over any outstanding matters being handled by HEIT and HLG.
 9   24.     REYNOLDS requested his client files back on numerous occasions, including during
10   discovery in the Reynolds v. Heit Action. HEIT and HLG have failed and refused to return
11   REYNOLDS’s client files.

12   25.     Based on the facts stated above, and upon further evidence to be presented in discovery
     and at trial, REYNOLDS alleges that HEIT and HLG defrauded REYNOLDS by using HEIT’s
13
     position of trust as fiduciary to REYNOLDS.
14
15
                                      FIRST CLAIM FOR RELIEF
16
           [Determination that debt is Non-Dischargeable Pursuant to 11 USC § 523(a)(2(A))
17              (Fraud Upon False Pretenses, False Representations, and Actual Fraud)

18   26.     REYNOLDS hereby incorporates Paragraphs one through 25 as if stated in full herein.
19   27.     HEIT made numerous false representations.
20   28.     HEIT obtained money from REYNOLDS based on false pretenses, false representations,

21   and actual fraud.
     29.     REYNOLDS had no knowledge of the falsity of HEIT’s conduct and representations.
22
     HEIT knowingly and/or recklessly made such misrepresentations and concealments with the
23
     intention to mislead REYNOLDS in order secure REYNOLDS’s money. REYNOLDS was not
24
     aware of the falsity and misleading nature of HEIT’s statements or concealments at the time they
25
     were made.
26   29. Thus, HEIT obtained REYNOLDS’s money and/or property by false pretenses, false
27   representations, and/or actual fraud, other than a statement respecting the Debtor’s or an
28   insider’s financial condition – all in violation of 11 U.S.C. § 523(a)(2)(A).


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 1   30. REYNOLDS justifiably relied on HEIT’s representations and was harmed as a
 2   result.

 3   31. As a direct and proximate result of such conduct, REYNOLDS sustained the damages
     according to proof at trial. Accordingly, HEIT’s debt owing to REYNOLDS is for money
 4
     obtained by false pretenses, false representations and/or actual fraud, and should be held
 5
     nondischargeable pursuant to 11 U.S.C. § 523(a)(2)(A) together with prejudgment and
 6
     postjudgment interest, plus costs and attorneys’ fees as allowed by law, and/or otherwise
 7
     allowed.
 8   WHEREFORE, REYNOLDS prays for judgment as hereinafter set forth below.
 9
10                                     SECOND CLAIM FOR RELIEF
11             [Determination that debt is Non-Dischargeable Pursuant to 11 USC § 523(a)(4)]
                                  (Defalcation and Fraud by a Fiduciary)
12
13   30.        REYNOLDS hereby incorporates Paragraphs one through 25 as if stated in full herein.
     31.        REYNOLDS entrusted money to HEIT to be safeguarded, accounted for, held in trust.
14
     HEIT owed a fiduciary duty because REYNOLDS entrusted funds to HEIT by and through the
15
     HLG trust account.
16
     32.        HEIT failed to account for all the funds REYNOLDS paid to the HEIT leading to a
17   misappropriation of trust funds held by the HEIT. HEIT also breached his fiduciary duty by
18   failing to return funds to REYNOLDS for legal services and expenses not provided.
19   33.        HEIT owed a fiduciary duty to REYNOLDS based on the attorney-client relationship
20   established.

21   34.        HEIT breached his fiduciary duty to REYNOLDS by making fraudulent representations
     to REYNOLDS regarding HEIT’s competence, ability and knowledge to represent REYNOLDS
22
     in litigation and that he could perform such legal services with reasonable diligence.
23
     35.        As a direct and proximate result of the HEIT’s defalcation and fraud while acting in a
24
     fiduciary capacity, HEIT caused REYNOLDS to suffer damages. Thus, the debt owed by HEIT
25
     to REYNOLDS is and must be held nondischargeable by virtue of the provisions of 11 U.S.C. §
26   523(a)(4).
27
28   WHEREFORE, REYNOLDS prays for judgment as hereinafter set forth below.


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 1                                      THIRD CLAIM FOR RELIEF
 2            [Determination that debt is Non-Dischargeable Pursuant to 11 USC § 523(a)(6)]
                 (Willful and Malicious Injury by the Debtor to the Property of Another)
 3
 4   36.       REYNOLDS hereby incorporates Paragraphs one through 25 as if stated in full herein.
     Based on the HEIT’s willful and malicious conduct, REYNOLDS suffered damages in the sum
 5
     to be proven at trial and said damages should be held against Debtor as nondischargeable
 6
     pursuant to 11 U.S.C. § 523(a)(6).
 7
 8
     WHEREFORE, B REYNOLDS prays for judgment against as hereinafter set forth.
 9
10                                     FOURTH CAUSE OF ACTION
11            [Determination that debt is Non-Dischargeable Pursuant to 11 USC § 523(a)(4)]
                                              (Conversion)
12
13   37.       REYNOLDS hereby incorporates Paragraphs one through 25 as if stated in full herein.

14   38.       REYNOLDS owns, possesses, and has the exclusive right to own and possess his client
     files.
15
     39.       HEIT substantially interfered with REYNOLDS’S property interest in the client files by
16
     knowingly and/or intentionally taking possession of the client files, assuming control thereof,
17
     refusing to return the client files.
18   40.       REYNOLDS did not consent to HEIT’s actions alleged herein.
19   41.       REYNOLDS was harmed by HEIT’s actions alleged herein, in an amount to be proven at
20   trial.
21   42.       HEIT’s conduct directly caused, or at a minimum was a substantial factor in causing,

22   REYNOLDS’s harm as alleged herein.
     43.       REYNOLDS is entitled to have his debt determined nondischargeable pursuant to 11
23
     USC §§ 523(a)(4).
24
25
     WHEREFORE, REYNOLDS prays for judgment as hereinafter set forth.
26
27
28


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 1                                     PRAYER FOR RELIEF
 2
     A.    For damages according to proof expected to exceed $500,000.
 3
     B.    Exemplary and/or punitive damages for oppressive, fraudulent, and/or malicious conduct
 4
           according to proof.
 5
     C.    Determining that the debt is nondischargeable pursuant to 11 USC §§ 523(a)(2)(A),
 6         523(a)(4) and 523(a)(6)
 7   D.    Attorneys’ fees.
 8   E.    Costs of suit.
 9   F.    Such other and further relief as the Court deems proper.

10                                              LAW OFFICES OF JACOB HARKER

11
     Date: September 3, 2024                    BY:
12                                                      Jacob Harker
13                                                      Attorneys for Plaintiff

14
                                     DEMAND FOR JURY TRIAL
15
16         REYNOLDS demands a trial by jury in this Action on all counts so triable.

17                                              LAW OFFICES OF JACOB HARKER

18
19   Date: September 3, 2024                    BY:
                                                        Jacob Harker
20                                                      Attorneys for Plaintiff

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22
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